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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11                                                      No. 2:23-cv-02766-TLN-KJN
      IN RE: STEVEN WAYNE BONILLA
12                                                      No. 2:23-cv-02773-TLN-KJN

13                                                      No. 2:23-cv-02774-TLN-KJN

14                                                      No. 2:23-cv-02775-TLN-KJN

15                                                      No. 2:23-cv-02776-TLN-KJN

16                                                      No. 2:23-cv-02777-TLN-KJN

17                                                      No. 2:23-cv-02780-TLN-KJN

18                                                      No. 2:23-cv-02781-TLN-KJN

19                                                      No. 2:23-cv-02782-TLN-KJN

20                                                      No. 2:23-cv-02783-TLN-KJN

21                                                      ORDER

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24          Plaintiff Steven Wayne Bonilla is a state prisoner proceeding without counsel in the

25   above-captioned civil actions. On November 29, 2018, the Court declared Plaintiff a vexatious

26   litigant and ordered the Clerk of the Court not to file or assign a civil case number to any

27   proposed habeas corpus petition or civil action related to Plaintiff’s criminal conviction in

28   Alameda County. (See Bonilla v. Fresno County, Case No. 2:18-cv-2544-TLN-KJN, ECF No.
                                                        1
         Case 2:23-cv-02766-TLN-KJN Document 2 Filed 12/22/23 Page 2 of 2


 1   13). On June 14, 2023, the Court modified its vexatious litigant Order and directed the Clerk of

 2   the Court to open a new case for each attempted new case pleading and assign it to the

 3   undersigned and Magistrate Judge Kendall J. Newman. (Id. at ECF No. 26). If the Court

 4   determines the new filing is related to Plaintiff’s Alameda County criminal conviction, the case

 5   will be ordered dismissed and closed. (Id.)

 6            The Court has reviewed the complaints/petitions filed in the above-captioned cases and

 7   finds they are related to Plaintiff’s Alameda County criminal conviction.1

 8            Accordingly, the complaints/petitions in Case Nos 2:23-cv-02766, 2:23-cv-02773, 2:23-

 9   cv-02774, 2:23-cv-02775, 2:23-cv-02776, 2:23-cv-02777, 2:23-cv-02780, 2:23-cv-02781, 2:23-

10   cv-02782, and 2:23-cv-02783 are hereby DISMISSED. The Clerk of the Court is directed to

11   close these cases. No further filings will be accepted.

12            IT IS SO ORDERED.

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                Dated: December 21, 2023
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                                                                    Troy L. Nunley
17                                                                  United States District Judge

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26           The captions of the complaints/petitions in Case Nos. 2:23-cv-2775, 2:23-cv-2776, and
     2:23-cv-2777 list the Yuba County Superior Court instead of the U.S. District Court, Eastern
27   District of California. To the extent Plaintiff intended to file these complaints/petitions in this
     Court, they are DISMISSED pursuant to the amended vexatious litigant Order. (Bonilla, Case
28   No. 2:18-cv-2544-TLN-KJN, ECF No. 26.)
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